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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  HAMPTON DELLINGER,

                                    Plaintiff,

  v.                                                       Civil Action No. 1:25-cv-00385-ABJ

  SCOTT BESSENT, et al.,


                                    Defendants.




                                      JOINT STATUS REPORT

           On February 12, 2025, the Court ordered the parties to “confer and inform the Court by

February 14 of their position on whether the Court should consolidate consideration of the request

for preliminary injunction with consideration of the merits pursuant to Federal Rule of Civil Procedure

65(a)(2)” and to “submit a proposed schedule for any additional submissions they believe are

warranted.” ECF No. 14.

           Special Counsel Dellinger defers to the Court’s judgment on whether it would be helpful and

expedient to consolidate consideration of the preliminary injunction with consideration of the merits

pursuant to Federal Rule of Civil Procedure 65(a)(2), particularly as may be informed by the

preliminary injunction hearing on February 26. Special Counsel Dellinger requests leave of the Court

to file additional briefing, if any, on the following schedule:

       •   Special Counsel Dellinger’s supplemental brief, not to exceed ten double-spaced pages, due

           5:00 PM Thursday, February 20, 2025;

       •   Defendants’ supplemental response if Special Counsel Dellinger files a supplemental brief, not



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       to exceed ten pages, due 5:00 PM Monday, February 24, 2025;

   •   Special Counsel Dellinger’s supplemental reply, not to exceed five pages, due 5:00 PM

       Tuesday, February 25, 2025.

       Defendants respectfully request that the Court consolidate consideration of the request for

preliminary injunction with consideration of the merits pursuant to Federal Rule of Civil Procedure

65(a)(2). Defendants do not believe that any additional submissions from the parties are warranted.


Dated: February 14, 2025                             Respectfully submitted,

                                                     BRETT A. SHUMATE
                                                     Acting Assistant Attorney General

                                                     CHRISTOPHER R. HALL
                                                     Assistant Branch Director

                                                     /s/ Madeline M. McMahon
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